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       In The United States Court of Federal Claims
                                          No. 12-554C

                                     (Filed: March 22, 2013)
                                           __________
DAVID E. O’BRIEN,

                     Plaintiff,

      v.

THE UNITED STATES,

                     Defendant.

                                           __________

                                            ORDER
                                           __________

        A telephonic status conference will be held in this case on Friday, March 29, 2013, at
 10:00 a.m. (EDT). Chambers will contact the parties shortly before the scheduled conference
 time.

        IT IS SO ORDERED.




                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
